             Case 2:22-cv-00613-KKE           Document 25        Filed 11/02/23             Page 1 of 2




 1                                                                 The Honorable Kymberly K. Evanson

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9 MICHAEL BURNHAM, individually and on
   behalf of all others similarly situated,
10                                                           No. 2:22-cv-00613-KKE
11                              Plaintiff,
                                                             JOINT STIPULATION OF
12          v.                                               VOLUNTARY DISMISSAL
                                                             WITHOUT PREJUDICE
13 T-MOBILE USA, INC.,

14                              Defendant.
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17          Plaintiff, MICHAEL BURNHAM, individually and on behalf of all others similarly

18 situated (the “Plaintiff”) and Defendant, T-MOBILE USA, INC. (the “Defendant”), by and

19 through their undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby jointly

20 stipulate to the dismissal of this action in its entirety, without prejudice.

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22          DATED November 2, 2023.
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                                                                                         Shutts & Bowen LLP
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            Case 2:22-cv-00613-KKE           Document 25    Filed 11/02/23        Page 2 of 2



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